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                     UNITED STATES DISTRICT COURT FOR THE
                          WESTERN DISTRICT OF TEXAS
                               EL PASO DIVISION

RAILROAD DRIVE INVESTMENTS, LLC §
d/b/a LIBERTY LUXURY TOWNHOMES §
                                §
                                §
       Plaintiff,               §
                                §
v.                              §                    Civil Action No. 3:20-cv-00110
                                §
PHILADELPHIA INDEMNITY          §
INSURANCE COMPANY               §
                                §
                                §
       Defendant.               §

                                   NOTICE OF REMOVAL

       Defendant Philadelphia Indemnity Insurance Company files this Notice of Removal, and,

in support, respectfully shows the following:

I.     THE COURT HAS DIVERSITY JURISDICTION

       Plaintiffs filed this lawsuit on March 25, 2020, in El Paso County, Texas, against Defendant

Philadelphia Indemnity Insurance Company, styled as Railroad Drive Investments, LLC, dba

Liberty Luxury Townhomes v. Philadelphia Indemnity Insurance Company, cause no.

2020DCV1125, in County Court at Law No. 3, El Paso County, Texas. The lawsuit involves an

insurance claim Plaintiff submitted to Philadelphia. Philadelphia now removes this action on the

basis of diversity jurisdiction because the Parties are diverse, and the amount in controversy

exceeds $75,000.

       A. The Plaintiffs and Philadelphia are Diverse

       Removal is proper under 28 U.S.C. §1446(a)(1) because there is complete diversity of

citizenship between Plaintiff and Philadelphia, the sole Defendant. For purposes of diversity of




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citizenship, Plaintiff Railroad Drive Investments, LLC, dba Liberty Luxury Townhomes, is a

citizen of the State of Texas, because it is a limited liability company whose members are natural

persons who are domiciled in Texas. See Ex. 1, ¶3; Newman-Green, Inc. v. Alfonzo-Larrain, 490

U.S. 826, 828 (1989) (holding a natural person is citizen of state in which she domiciles).

Philadelphia is a citizen of Pennsylvania, being an insurance company formed under Pennsylvania

law with its principal place of business at One Bala Plaza, Suite 100, Bala Cynwyd, Pennsylvania

19004. See Hertz Corp. v. Friend, 559 U.S. 77, 80 (2010) (holding corporations are a citizen of

the state in which they are incorporated and in the state in which their principal place of business

is located). Based on the foregoing, Plaintiff and Philadelphia are completely diverse within the

meaning of §1332(a).

       B. The Amount in Controversy Exceeds $75,000

       Plaintiffs seek monetary relief greater than $200,000 and less than $1 million. See Ex. 1,

¶2. Therefore, the amount in controversy exceeds the $75,000 threshold required to invoke

diversity jurisdiction. 28 U.S.C. §1332(a); see St. Paul Reins. Co., Ltd. v. Greenberg, 134 F.3d

1250, 1253 (5th Cir. 1998) (noting the district court examines the complaint to determine whether

it is facially apparent that the claim exceeds the jurisdictional minimum); see also KVOS, Inc. v.

Associated Press, 299 U.S. 269, 277 (1936) (holding allegation in pleading is sufficient to establish

amount in controversy).

II.    VENUE IS PROPER

       Venue is proper in this District and Division under 28 U.S.C. §§124(d)(3), 1441(a), and

1446(a) in that the Western District of Texas, El Paso Division encompasses El Paso, Texas, and

is “the district and division embracing the place where such action is pending.”




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III.   REMOVAL IS TIMELY

       This matter was filed on March 25, 2020. Agent for Service of Process accepted service by

certified mail on Philadelphia’s behalf on April 2, 2020. Therefore, this notice of Removal is timely

pursuant to 28 U.S.C. §1446(b)(1) because it is filed within 30 days after Philadelphia was served

with Plaintiffs’ Original Petition.

IV.    THE REMOVAL IS PROCEDURALLY CORRECT

       Pursuant to 28 U.S.C. §1446(a), copies of process and Plaintiffs’ Original Petition are

attached hereto as Exhibit 1. No orders have been served on Philadelphia. Pursuant to 28 U.S.C.

§1446(d), promptly after Philadelphia files this Notice of Removal, written notice of the filing will

be served on Plaintiffs, and a true copy of this Notice of Removal will be filed with the Clerk of

the El Paso County District Court, the state court from which this action was removed.

V.     PRAYER

       This Court has jurisdiction over this action pursuant to 28 U.S.C. §1332(a), and the matter

was removed in accordance with section 28 U.S.C. §1446. Accordingly, Philadelphia respectfully

prays that the United States District Court for the Western District of Texas, El Paso Division, file

the Notice of Removal, assume jurisdiction of this lawsuit, and issue all such further orders and

processes as may be necessary.




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                                                Respectfully submitted,


                                                /s/ Stephen A. Melendi
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                                                PHILADELPHIA INDEMNITY INSURANCE
                                                COMPANY



                                   CERTIFICATE OF SERVICE

          I hereby certify that on April 27, 2020, I electronically filed the foregoing with the Clerk

of Court using the CM/ECF system, which will electronically send notification to all counsel of

record.

                                                /s/ Stephen A. Melendi
                                                Stephen A. Melendi




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